             Case 3:17-cv-00939-WHA Document 2623-6 Filed 02/05/18 Page 1 of 9

                                   Waymo v. Uber
                             Case No. 3:17-cv-00939-WHA



                   TRIAL EXHIBIT 7114

Uber Objections:

            Fed. R. Evid. 802 – This document contains inadmissible hearsay; namely, while the general file
             descriptions were drafted by Stroz employees, the file listings consist of nothing but metadata
             copied from Anthony Levandowski’s laptop, untransformed by Stroz’s analysis. See Br. § III.

            Designated witnesses who received this document pre-litigation are: Eric Tate and John Gardner.
             The document therefore cannot be admitted for a non-hearsay purpose of notice to Uber or
             Ottomotto. See Br. § IV.




                Yellow Highlights                                       Hearsay Statements
Case 3:17-cv-00939-WHA Document 2623-6 Filed 02/05/18 Page 2 of 9
Case 3:17-cv-00939-WHA Document 2623-6 Filed 02/05/18 Page 3 of 9
Case 3:17-cv-00939-WHA Document 2623-6 Filed 02/05/18 Page 4 of 9
Case 3:17-cv-00939-WHA Document 2623-6 Filed 02/05/18 Page 5 of 9
Case 3:17-cv-00939-WHA Document 2623-6 Filed 02/05/18 Page 6 of 9
Case 3:17-cv-00939-WHA Document 2623-6 Filed 02/05/18 Page 7 of 9
Case 3:17-cv-00939-WHA Document 2623-6 Filed 02/05/18 Page 8 of 9
Case 3:17-cv-00939-WHA Document 2623-6 Filed 02/05/18 Page 9 of 9
